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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS




            JOHN DOE,

                          PLAINTIFF

                  V.

            PRAIRIE VIEW A&M UNIVERSITY,                Civ. No. 22-cv-01019
            ALEXIS BOYD, LATOYA DOUGLAS,
            DANIEL HERNANDEZ, KEITH T.
            JEMISON, ANWAR PHILLIPS, and
            STEVEN RANSOM,

                          DEFENDANTS.



 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO PROCEED
                 ANONYMOUSLY AS JOHN DOE

       Plaintiff submits this Memorandum of Law in support of Plaintiff’s Motion to Proceed

Anonymously as John Doe. John Doe seeks leave to proceed in the above-captioned matter as a

pseudonymous Plaintiff. Plaintiff’s identity as described in the Complaint should not be disclosed

to the public due to the nature of the claims, which involve his protected and confidential

educational records as well as those of other students. In addition, Defendants’ allegations against

him involve sexual misconduct, which Plaintiff alleges are unfair and erroneous. Plaintiff is

justifiably concerned about the possibility of reprisal and reputational harm that could further

interfere with his career and other future endeavors and inflict additional harm.

       I.      STATEMENT OF FACTS

       John Doe alleges that Prairie View A&M University’s (PVAMU’s) disciplinary process

was infected with gender bias and riddled with errors in which PVAMU disregarded its own

policies and procedures, lost or destroyed exculpatory evidence, violated Title IX of the


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Education Amendments of 1972, 20 USC § 1681, et seq., and ran roughshod over his due

process rights in violation of the Fifth and Fourteenth Amendments to the United States

Constitution.

       As alleged in the Complaint, Plaintiff was wrongfully expelled from PVAMU when the

university found him responsible for “sexual exploitation” after his roommate, identified in court

papers as “RR,” allegedly had nonconsensual sex with a female PVAMU student in Doe’s

bedroom. PVAMU alleged that by allowing his roommate to enter his bedroom, Doe somehow

facilitated RR’s rape of the female student.

       While RR remains on campus, PVAMU expelled John Doe after a process in which Doe

was denied access to critical evidence that university officials subsequently lost or destroyed; in

which the university relied on the credibility testimony of a witness who could not tell John Doe

apart from his roommate; in which the investigator was permitted to exercise undue influence

over the hearing process; and in which multiple university policies and federal regulations were

violated.

       II.      ARGUMENT

                A. Legal Standard

       Plaintiff acknowledges the strong public policy in favor of public access to judicial

proceedings. However, the courts permit parties to proceed under pseudonyms when

circumstances justify an exception to this general policy. This has become the norm in Title IX

litigation for both accused students and accusing students.

       Generally, to permit a party to proceed anonymously, a court “must balance the need for

anonymity against the general presumption that parties’ identities are public information and the

risk of unfairness to the opposing party.” Plaintiffs I Thru XXIII v. Advanced Textile Corp., 214

F. 3d 1058, 1068 (9th Cir. 2000).
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       Factors to be considered in this balancing include:

         (1) whether the litigation involves matters that are highly sensitive and of a
         personal nature;

         (2) whether identification poses a risk of retaliatory physical or mental harm to
         the party seeking to proceed anonymously or even more critically, to innocent
         non-parties;

         (3) whether identification presents other harms and the likely severity of those
         harms, including whether the injury litigated against would be incurred as a
         result of the disclosure of the plaintiff's identity;

         (4) whether the plaintiff is particularly vulnerable to the possible harms of
         disclosure, particularly in light of his age;

         (5) whether the suit is challenging the actions of the government or that of
         private parties;

         (6) whether the defendant is prejudiced by allowing the plaintiff to press his
         claims anonymously, whether the nature of that prejudice, if any, differs at any
         particular stage of the litigation, and whether any prejudice can be mitigated by
         the district court;

         (7) whether the plaintiff's identity has thus far been kept confidential;

         (8) whether the public's interest in the litigation is furthered by requiring the
         plaintiff to disclose his identity;

         (9) whether, because of the purely legal nature of the issues presented or
         otherwise, there is an atypically weak public interest in knowing the litigants'
         identities; and

         (10) whether there are any alternative mechanisms for protecting the
         confidentiality of the plaintiff.

United States ex rel. Doe v. Boston Scientific Corp., 2009 U.S. Dist. LEXIS 59390, *10 (S.D.

Tex. July 2, 2009).

       The Court should permit Plaintiff to proceed anonymously after balancing the above-

noted factors.




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                B. The Litigation Involves Highly Sensitive Matters of a Personal Nature

        Numerous courts, including those of the Southern District of Texas, routinely allow

plaintiffs alleging Title IX claims against colleges and universities to proceed anonymously.

See, e.g., Doe v. Texas A&M Univ. – Kingsville, No. 2:21-cv-00257 (S.D. Tex. Nov. 4, 2021)

(granting accused student’s motion to proceed under pseudonym because “the identities of the

parties to the sexual misconduct accusations is not of legitimate interest to the public and would

be highly embarrassing and damaging to the parties and witnesses”); Doe v. Texas A&M Univ.,

No. 4:20-cv-04332 (S.D. Tex. Dec. 30, 2020) (“The court finds that public revelation of the

plaintiff’s identity to the sexual misconduct accusations would be highly embarrassing and

damaging to the plaintiff. This is a substantial and serious privacy interest that outweighs the

presumption of openness in judicial proceedings under Rule 10(a), and no less restrictive means

exists to protect the plaintiff’s privacy interest.”)

        Plaintiff’s identity has thus far been kept confidential, and the Court should permit

Plaintiff to continue to do so. This is appropriate given the highly sensitive and personal nature

of allegations of sexual misconduct. Plaintiff does not contend that the revelation of his name

will merely embarrass him or subject him to public humiliation. Public revelation of highly

sensitive sexual acts and the privacy interests implicated by false allegations of sexual

misconduct can permanently bar his path forward as an educated professional. Plaintiff will be

significantly hindered in his ability to pursue future career and educational endeavors, including

graduate studies.

        As a young adult at the beginning of his career, John Doe is particularly vulnerable to this

reputational harm. Furthermore, revealing Plaintiff’s identify would render any ultimate relief

ordered by this Court moot. Forcing Plaintiff’s identity into the open would forever associate his



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name with alleged sex crimes—regardless of their merit. This is, among other damages caused

by Defendants, the exact reputational harm that John Doe seeks to remedy through this lawsuit.

       As in the cases cited, the Court should permit Plaintiff to proceed anonymously.

               C. Defendants Will Not Be Prejudiced

       Defendants will not be prejudiced. First, Defendants are obviously aware of Plaintiff’s

true identity. See, e.g., Roe v. Patterson, 2019 U.S. Dist. LEXIS 95314, *14 (E.D. Tex. June 3,

2019) (“Permitting Plaintiff to proceed under a pseudonym will not prejudice or pose a threat of

fundamental unfairness to Defendants, as they are already aware of the identities of Roe, Doe,

and the witnesses described in the Complaint.”) Additionally, there can be no doubt that

Defendants will have unobstructed opportunity to conduct discovery, present their defenses, and

litigate this matter, whether or not Plaintiff proceeds anonymously. Accordingly, no prejudice to

Defendants stands in the way of permitting John Doe to proceed anonymously.

               D. The Public Has a Weak Interest, if Any, in Plaintiff’s Identity

       Considering the legal nature of the claims presented (i.e., Defendants violated Plaintiff’s

constitutional right to due process and violated Title IX), there is a weak public interest in

learning Plaintiff’s identity as an individual.

       Maintaining Plaintiff’s confidentiality is also consistent with federal policy as expressed

by the Family Educational Rights and Privacy Act (FERPA). John Doe’s case primarily

involves school disciplinary records, the protected confidentiality of which is well established.

See e.g., United States v. Miami Univ., 294 F.3d 797, 812 (6th Cir. 2002) (noting that Congress

“intend[ed] to include student disciplinary records within the meaning of ‘education records’ as

defined by the FERPA”).

       Not only would disclosure contravene the policy embodied in FERPA, it would not

advance any public interest in this matter. PVAMU is a large institution of public

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accommodation, whose actions affect the student population at PVAMU as a whole. The public

interest overwhelmingly lies in the enforcement of existing laws against PVAMU, which

Plaintiff’s lawsuit advances by exposing bias, sex discrimination, constitutional violations, and

unfair investigatory process.

       In addition, the public’s knowledge will be only minimally restricted. PVAMU’s

wrongful prosecution of sexual exploitation charges, as well as its violation of civil and

constitutional rights, will still be exposed to public scrutiny if the Court allows John Doe to

proceed anonymously.

       For these reasons and such other reasons as may appear just to the Court, Plaintiff

requests that his Motion to Proceed Anonymously as John Doe be granted.



Dated: March 29, 2022




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                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that on the date specified in the caption of this document, I electronically filed
the foregoing with the Clerk of Court, to be served on all parties of record via the CM/ECF
system and by email on the following parties:

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